         Case 2:19-cv-01180-CRE Document 11 Filed 10/22/19 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                   PITTSBURGH

JOHN DOE,                                         )
                                                  )
                Plaintiff,                        )               2:19-CV-01180-CRE
                                                  )
        vs.                                       )
                                                  )
UNIVERSITY OF PITTSBURGH OF THE                   )
COMMONWEALTH SYSTEM OF                            )
                                                  )
HIGHER EDUCATION,                                 )
                                                  )
                Defendant,

                                 ORDER TO SHOW CAUSE

       AND NOW, this 22nd day of October, 2019,

       Plaintiff shall show cause as to why he should be permitted to proceed in this case

anonymously. See Fed. R. Civ. P. 10; Doe v. Megless, 654 F.3d 404, 408-411 (3d Cir. 2011)

(potential for embarrassment or economic harm is not enough to proceed anonymously). A

response to this show cause order is due by November 5, 2019 and Plaintiff shall indicate whether

opposing counsel consents to Plaintiff proceeding anonymously. Should Defendant not consent

to Plaintiff proceeding anonymously, Defendant’s reply is due by November 19, 2019. Briefs are

limited to ten (10) pages.


                                            BY THE COURT:


                                            s/Cynthia Reed Eddy
                                            Chief United States Magistrate Judge
